
This appeal is from a deficiency in income taxes in the amount of $2,024.82, for the calendar year 1921. The deficiency resulted from the action of the Commissioner in decreasing the March 1, 1913, value of the capital stock of the Fargo Mercantile Co. which was sold by this taxpayer during the year 1921. Counsel agreed by written stipulation filed that the only question involved in this appeal is the March 1, 1913, value of 100 shares of the capital stock of the Fargo Mercantile Co. It was further stipulated by counsel that the March 1, 1913, value of the above stock was $17,000, and that, when this value is deducted from the sales price and the correct tax computed for the year 1921, the correct amount of the deficiency will be $1,461.34, upon which the Board makes the following
DECISION.
The deficiency for the calendar year 1921 is determined to be $1,461.34, and the remainder of the deficiency determined by the Commissioner is disallowed.
